           Case No. 1:20-cr-00305-DDD                 Document 612            filed 12/10/24        USDC Colorado            pg 1
              TENTH CIRCUIT TRANSCRIPT ORDER FORM – of
                                                    DIRECTIONS
                                                       1       ON REVERSE SIDE (Revised 2/2024)

                                         PART I – Case Information and Contact Information
Case Name: U.S. v. Michael Tew            District Court Case Number: 20-CR-305
District Court: Colorado     Circuit Court Appeal Number: 24-1465
Name of Attorney/Pro Se Party Completing this Form:
Kristen M. Frost                               Jason D. Schall
Ridley McGreevy & Winocur PC                   Bowlin & Schall LLC
303 16th Street, Suite 200                     7350 E. Progress Place, Suite 100
Denver, Colorado 80202                         Greenwood Village, Colorado 80111
303-629-9700                                   720-505-3861
frost@ridleylaw.com                             jason@bowsch.com
                   PART II – Complete one section below to indicate whether you are ordering transcripts.
☐ I am not ordering a transcript because (check one):
                                   ☐ a transcript is not necessary for this appeal;
                                   ☐ the necessary transcript is already on file in the district court; or
                                   ☐ the necessary transcript was ordered previously in appeal number ___________________.
 I hereby order the following transcript(s) from Julie Thomas. One form may be used to order multiple transcripts from
the same court reporter, but separate forms must be filed for each court reporter from whom a transcript is ordered. Please
be specific if ordering partial transcripts (e.g., voir dire).
          Name of Proceeding                 Date of Proceeding        Dist. Ct. Doc. No.       Delivery (30-, 14-, 7-, 3-Day, or Daily)
          Suppression Hearing                    10/12/22                     255                               30-Day



                             PART III – Choose the manner of payment for the transcript(s) ordered.
☐ This case is NOT proceeding under the Criminal Justice Act. I will pay the cost of the transcript. My signature on this form is
my agreement to pay for the transcript(s) ordered on this form, and I understand that I must make satisfactory payment
arrangements with the court reporter(s) before work to prepare the transcript will begin.
 This case IS proceeding under the Criminal Justice Act, and (check one):
        ☐ I am a Federal Public Defender. The Defender’s Office will pay the cost of the transcript(s).
        I am a CJA Panel Attorney, and I will take all steps required in eVoucher to complete payment arrangements.
NOTE: Leave to proceed in forma pauperis does not entitle appellant to a free transcript. An order of the district court allowing
payment for the transcript at government expense must be obtained. See 28 U.S.C. §753(f).
                                  Part IV – Attorney’s/Ordering Party’s Certificate of Compliance
I, Kristen M. Frost, certify that I have (1) read the instructions on the reverse of this form; (2) filed copies of this completed form
in both the U.S. District Court and the Tenth Circuit; and, if ordering transcripts, (3) provided a copy of this completed form to
the court reporter(s) and made satisfactory payment arrangements for all transcripts I am ordering. I understand I must
send a copy of this form directly to the court reporter(s) in addition to filing it.

Attorney’s/Ordering Party’s Signature: s/ Kristen M. Frost               Date: 12/10/24
     PART V – Court Reporter’s Certificate of Compliance (Complete After Payment Arrangements Have Been Made)

 Date Payment Arrangements Made            Estimated Completion Date        Number of Pages        Date(s) of Hearing(s)/Proceeding(s)




I, ___________________________________________________, certify that (1) I have read the instructions on the reverse side; (2) adequate
payment arrangements have been made; (3) I will provide a copy of this completed form to the Tenth Circuit Clerk’s Office; and
(4) I will provide any required notice to the U.S. District Court Clerk’s Office.

Signature of Court Reporter: ___________________________________________________________________________________ Date:_________________________
